          Case 2:16-cr-00080-RMP             ECF No. 164         filed 04/18/17      PageID.475 Page 1 of 2
✎ PS 8
(3/15)


                               UNITED STATES DISTRICT COURT
                                                              for
                                             Eastern District of Washington


U.S.A. vs.                        Myrick, Tracy                           Docket No.             2:16CR00080-RMP-1


                                  Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Tracy Myrick, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge, Mary K. Dimke,
sitting in the Court at Spokane, Washington, on the 14th day of April 2016 under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner. Defendant may not possess or
use marijuana, regardless of whether Defendant has been prescribed a medical marijuana card.

Special Condition #13: Defendant shall abstain from the use of illegal controlled substances, and shall submit to urinalysis
testing as directed by the Pretrial Services Office, but no more than six tests per month.

Special Condition #16: Defendant shall be restricted to his residence at all times except for: attorney visits; court
appearances; case-related matters; court-ordered obligations’ substance abuse testing or treatment; or other activities as pre-
approved by the Pretrial Services Office.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: The defendant failed to report for random drug testing on March 17, 2017.

Violation #2: The defendant tested positive for the presence of methamphetamine on March 20, 2017.

Violation #3: The defendant left his residence without obtaining prior approval on April 12, 2017.

                             PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                            I declare under the penalty of perjury
                                                                            that the foregoing is true and correct.
                                                                            Executed on:       April 17, 2017
                                                                    by      s/Erik Carlson
                                                                            Erik Carlson
                                                                            U.S. Pretrial Services Officer
         Case 2:16-cr-00080-RMP         ECF No. 164      filed 04/18/17      PageID.476 Page 2 of 2
  PS-8
  Re: Myrick, Tracy
  April 17, 2017
  Page 2

THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[x]      The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                      Signature of Judicial Officer
                                                                        April 18, 2017
                                                                      Date
